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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    MONTE SILVER and
    MONTE SILVER, LTD.,
    an Israel corporation

                  Plaintiffs
                                                       Civil Action No. 1:20-cv-1544 CKK
    v.

    INTERNAL REVENUE SERVICE;
    UNITED STATES DEPARTMENT
    OF THE TREASURY; CHARLES RETTIG,
    in his official capacity as Commissioner of the
    Internal Revenue; and JANET YELLEN, in
    her official capacity as United States Secretary
    of the Treasury

                  Defendants



              PLAINTIFFS’ MOTION FOR EXPEDITED CONSIDERATION OF
                        DEFENDANTS’ MOTION TO DISMISS


          Plaintiffs respectfully move the Court to expedite its decision of Defendants’ motion to

dismiss (“Motion”), which has been fully briefed. Pursuant to Local Civil Rule 7(m), Plaintiffs’

counsel has discussed the relief sought in the Motion with government counsel. The government

does not take a position on the relief sought.

          There is good cause for promptly adjudicating the Motion because Plaintiffs - and an

estimated 200,000 other small businesses and 1,000,000 shareholders 1 - continue to suffer on-




1
  See Exhibit A. This number excludes the vast number of U.S.-based small business that are
similarly situated, some of which have supported this lawsuit.
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going injury as a result of Defendants’ failure to comply with their statutory obligations, as alleged

in the Complaint.

        There are no issues before the Court which prevent it from ruling on the Motion, thus

allowing Plaintiffs to proceed with their case. Expediting a ruling on the Motion is essential

because Plaintiffs and other similarly situated entities and individuals incur significant GILTI-

related annual compliance costs and business-threatening double taxation. We note that in Silver

vs. IRS., case no. 19-cv-247 (APM) (D.D.C. 2019), the court denied Defendants’ motion to

dismiss, which was almost identical to the pending Motion.

        Plaintiffs, supported by the above small business owners, proactively sought legislative

relief. However, like the 9,000,000 Americans overseas whose voice is divided among fifty states,

these business owners lacked representation. Their voices were ignored.

        As discussed in the Complaint, both U.S. based - and U.S.-expat-small businesses were

also unable to obtain regulatory relief from the GILTI tax. Such relief was only provided to the

largest multinational companies due to their lobbying efforts. 2 Plaintiffs were left with no other

option but to seek judicial relief.

        Plaintiffs, and the large number of small businesses who have supported this lawsuit, are

entitled to their day in court, and wish to zealously and promptly pursue their rights and bring an

end to the injury they have sustained due to Defendants’ statutory violations.




2
  See https://www.nytimes.com/2019/12/30/business/trump-tax-cuts-beat-gilti.html (last viewed
on Sept. 29, 2021).           See also Senate letter to Former Secretary Mnuchin.
https://aboutbtax.com/Od9 (last viewed on Sept. 29, 2021).
                                                  2
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       WHEREFORE, plaintiffs respectfully request that the Court expedite its ruling on the

pending Motion.

Respectfully submitted,
Date: Sept. 29, 2021.
                                                   /s/ Lawrence Marc Zell
                                                   ________________________________
                                                   Lawrence Marc Zell (DC Bar # 959437)
                                                   Noam Schreiber, of counsel
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                                                   New York, NY 10105

                                                   Counsel for Plaintiffs




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